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                            UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF FLORIDA


Chapter 11

In re: COASTAL INTERNATIONAL SECURITY INC

Case Number: 20-40375 KKS

Claim Number: 2 for $4,511.45

                 DEBTOR



          WITHDRAWAL OF NOTICE BY COMMISSIONER OF MASSACHUSETTS
                  DEPARTMENT OF REVENUE PROOF OF CLAIM


      Please take notice that based upon further information provided by the debtor,

Geoffrey E. Snyder, as he is Commissioner of Revenue for the Commonwealth of

Massachusetts (hereinafter, "MDOR"), by and through his undersigned agent and attorney-in-fact,

hereby withdraws the Proof of Claim By the Commissioner Of Massachusetts

Department of Revenue.




                                        GEOFFREY E. SNYDER
                                        COMMISSIONER
                                        MASSACHUSETTS DEPARTMENT OF REVENUE


                                        By his duly authorized agent,




                                        /s/ Krystle Liles
                                        MASSACHUSETTS DEPARTMENT OF REVENUE
                                        BANKRUPTCY UNIT - COLLECTIONS BUREAU
                                        100 CAMBRIDGE STREET, PO BOX 9564
                                        BOSTON, MA 02114-9564
                                        (617) 626-3875
                Case 20-40375-KKS           Doc 52      Filed 12/22/20      Page 2 of 2



                          MASSACHUSETTS DEPARTMENT OF REVENUE
                          COLLECTIONS BUREAU - BANKRUPTCY UNIT

                              100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
Geoffrey E. Snyder
                                   PO BOX 9564, BOSTON, MA 02114-9564
Commissioner
                                 Phone: (617) 626-3875 Fax: (617) 626-3796


In re: COASTAL INTERNATIONAL SECURITY INC                                  Chapter 11
                                                                           Case Number: 20-40375
                                                                           KKS

                                       CERTIFICATE OF SERVICE


      I, Krystle Liles, hereby certify that I have served the attached Commissioner of the

Massachusetts Department of Revenue's Withdrawal of Proof of Claim By Commissioner Of

Massachusetts Department of Revenue, by first class mail, postage prepaid, upon parties or persons

appearing on the accompanying SERVICE LIST attached hereto who were not listed as being

served electronically upon.




                                         PATRICK MICHAEL SHELBY
                                         365 CANAL ST, Ste 2000
                                         NEW ORLEANS, LA 70130-6534



                                         Chapter 11 Trustee
                                         110 E PARK AVE, Ste 128
                                         TALLAHASSEE, FL 32301

                                         /s/ Krystle Liles
                                         MASSACHUSETTS DEPARTMENT OF REVENUE
                                         12/22/2020
